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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         Case No.: 20-14058-CIV-Rosenberg/Maynard

  Gustavo Cortez-Romero, et al.

            Plaintiff,

  vs.

  Marin J Corp, et al.

            Defendant.
                               __________ /

                                    MEDIATOR’S REPORT

            Erika Deutsch Rotbart, Esq., the undersigned certified Mediator, reports to this
  Honorable Court as follows:
            The Mediation was held on August 10, 2020, and


        X           AN AGREEMENT WAS REACHED.

  _________ The Agreement is attached with consent of the parties.

                    NO AGREEMENT WAS REACHED; IMPASSE.

  _________ The parties wish to continue settlement negotiations and may reconvene
            for a continuation of the Mediation. Notice of the continuation shall be
            provided to the parties and filed with the Court. If no Notice of an Agreement
            is filed with the Court on or before __/__/20, than this Matter shall be
            deemed at an impasse.

  _________         Other:_____________________________________________________


                                             s/Erika Deutsch Rotbart
                                             Erika Deutsch Rotbart, Esq.
                                             FL Bar No. 0047686
                                             Mediator Certification No. 17024 CR




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                       CERTIFICATE OF SERVICE / SERVICE LIST

          I HEREBY CERTIFY that on August 11, 2020, the foregoing document was
  electronically filed with the Clerk of the Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se parties
  identified below in this Service List in the manner specified, either via transmission of the
  Notice of Electronic Filing generated by CM/ECF or in some other authorized manner for
  those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.

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                                            Mediator
                                            4755 Technology Way, Suite 106
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                                            BY: s/Erika Deutsch Rotbart
                                                 Erika Deutsch Rotbart
                                                 Florida Bar No.: 0047686
                                                 Mediator Certification No. 17024 CR




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